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 3                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 4                                       AT SEATTLE

 5        KELLY HARRIS,
 6                                   Plaintiff,
                                                              C20-257 TSZ
 7                v.
                                                              MINUTE ORDER
 8        GENERAL MOTORS LLC,

 9                                   Defendant.

10
          The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
11
           (1)    The Motion for Reconsideration, docket no. 34, is GRANTED. The Court
12 concludes that Plaintiff’s fraudulent omission claim is not preempted by the Washington
   Products Liability Act. See RCW § 7.72.010(4). Defendant’s motion to dismiss, docket
13 no. 12, is therefore DENIED in part, and Plaintiff may assert a fraudulent omission claim
   as a standalone claim in any amended complaint.
14
           (2)    The Court therefore VACATES the portion of the Minute Order entered
15 September 2, 2020, docket no. 33, dismissing without prejudice Plaintiff’s fourth cause of
   action for fraudulent omission—i.e., Section IV and the related language in Paragraph 1
16 of the Conclusion. All other terms and conditions of that Minute Order not inconsistent
   herewith, including the deadline to file any amended complaint, shall remain in full force
17 and effect.

18          (3)        The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
19
            Dated this 19th day of October, 2020.
20
                                                          William M. McCool
21
                                                          Clerk
22
                                                          s/Gail Glass
                                                          Deputy Clerk
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     MINUTE ORDER - 1
